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AO 245B (CASDRev. 08113) Judgment in a Criminal Case                                                              FILED
                                        UNITED STATES DISTRICT COUR r                                             JUL 3 1 2014
                                           SOUTHERN DISTRICT OF CALIFORNIA                                  CLERK, U~iffHiCT COURT
                                                                                                         SOUTHERN DIS Tfl OF CALIFORNIi\
                                                                                                         BV                      DEPUTV
             UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL c.;M;~
                                   v.                                  (For Offenses Committed On or After November 1, 1987)
                    PEDRO ESTRADA (1)
                                                                          Case Number:         13CR1996-H

                                                                       David L. Baker
                                                                       Defendant's Attorney
REGISTRATION NO.                   60171-112


!2J   pleaded guilty to count(s)         1 of the Information.
                                        -------------------------------------------------------------
D     was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                         Nature of Offense                                                               Number(s)
21 USC 841(a)(1)                        POSSESSION OF MARUUANA WITH INTENT TO                                              1
                                        DISTRIBUTE (Felony)




    The defendant is sentenced as provided in pages 2 through                     4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

o Count(s)                                                       is          dismissed on the motion of the United States.

      Assessment: $100.00.
!2J


I:8J Fine waived               D Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.
       The defendant knowingly and voluntarily waives the right to file a motion for sentencing
reduction under 18 USC 3582(c) in exchange for a 2 level variance/departure.

                                                                        July 28. 2014
                                                                        Date of Imposition of Sentence



                                                                                                 . HUFF
                                                                                                   DISTRICT JUDGE


                                                                                                                          13CR1996-H
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